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EXHIBIT :

 

HIGHLAND COMMUNITY COLLEGE

 

President's Copy

40-MONTH FULL-TIME ADMINISTRATIVE (EXEMPT) EMPLOYMENT CONTRACT

It is hereby agreed, by and between Bradford Zinn, hereinafter referred to as the Employee, and Highland Community College,
in the City of Highland, Doniphan County, Kansas, hereinafter referred to as the College,

That this agreement is effective for the contract year beginning July 1, 2019, and ending June 30, 2020, with said Employee to
serve in the capacity of Assistant Women’s Basketball Coach and other duties assigned by the President. While the contract
year covers a 12-month period, this position is a 10-month position with the specified work period of August 1, 2019, thru May
31, 2020.

By the terms of this contract, the Employee is to be paid $24,369.80 in twelve (12) payments of $2,030.82 each, said payments
to be made on the fifteenth day of each month beginning with the July 2019 payroll.

That since this position is not a 12-month position, the following will apply:
1. The Employee shall accrue Sick Leave at the Administrative rate described in the Staff Policy Handbook (10 days/yr.);
2. The College will pay the Employee's single (annual) health and dental insurance if so desired by the Employee;
3. The College will provide $50,000 of term life insurance coverage,
4. The Employee will be paid for regularly scheduled college holidays that fall within the dates of this contract,
5. The Employee will participate in the Kansas Public Employees Retirement System;

That the Employee shail be under the supervision of the President who is the executive officer and official representative of the
Board of Trustees. The President's requests and directions, therefore, shall have the weight and force they would have if they
came from the Board of Trustees directly; A

That the said Employee agrees to abide by the written rules and regulations of the Board of Trustees of Highland Community
vilege which are hereby made a part of this contract and found in the Staff Policy Handbook;

That the College may terminate this contract prior to the above stated termination date in the event the Employee fails or
refuses to abide by and/or comply with the rules and regulations set forth in the Staff Policy Handbook or the requesis and
directions made and/or given by the President of Highland Community College. If this contract is terminated by Highland
Community College for any of the reasons herein stated, the portion of the Employee’s salary not paid at the fime of the
Employee’s termination shall be forfeited,

That the Employee acknowledges that this contract of employment creates an obligation to perform the duties herein specified
for the period of time specified. In the event the Employee leaves, quits or otherwise terminates this contract of employment
prior to the ending date thereof, that portion of the Empioyee’s salary not yet earned at the time the Employee feaves, quits or
otherwise terminates employment shail be forfeited. In the event the Employee leaves, quits cr otherwise terminates their
employment prior to the end of the term herein specified, the Employee shail also be obligated to pay the College liquidated
damages in an amount equal to twenty percent (20%) of the contract not yet earned by the Employee, Upon application by the
Employee to the Board of Trustees of Highland Community College, and for good cause shown, the Board may waive some or
all of the liquidated damages due from the Employee. All liquidated damages due hereunder shall be paid by the Employee to
the College within ten (10) days of the date on which the Employee leaves, quits, or otherwise terminates employment unless
the Board of Trustees of Highland Community College, upon application of the Employee and for good cause shown, authorizes
an extension of the time within such shall be paid;

That the legal and lawful deductions shall be made from the salary.

This contract is made contingent upon and shall become binding if and when the obligation created hereby shall be approved
and included in the budget and raised by taxes as provided by law.

 

Executed for the Board of Trustees pursuant My signature affixed below acknowledges that!
to aut granted by sugh Board. accept all the terms and conditions of this contract.
Gye Ves/l -
YT) pre 7/31 LIA
Deborah Fox, President Date Bradford Zinn, Employee Date

 

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